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                  EXHIBIT B-118
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                   IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                     FILED IN OFFICE '
                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Eric Daniel Herschmann                        )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jmy investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Eric Daniel Herschmann, born May 7, 1962, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation.

    Through both its investigation and through publicly available information, the State

    has learned the following information.

 4. From approximately August 3, 2020, through January 21, 2021, the Witness served as

    a senior adviser to former President Donald Trump and was present for multiple

    meetings between former President Trump and others related to the 2020 election.

 5. According to information made publicly available by the United States House of

    Representatives Select Committee to Investigate the January 6th Attack on the United

    States Capitol, the Witness testified to the Committee that had multiple conversations

    with John Eastman, Rudy Giuliani, Sidney Powell, and others known to be associated

    with the Trump Campaign, related to their efforts to influence the results of the

    November 2020 elections in Georgia and elsewhere.

 6. According to information made publicly available by the United States House of

    Representatives Select Committee to Investigate the January 6th Attack on the United

    States Capitol, the Witness testified to the Committee that on January 7, 2021, he had

    a heated conversation with John Eastman specifically concerning efforts in Georgia,
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    at the conclusion of which the Witness told Eastman, "Get a great fing criminal

    defense lawyer. You're gonna need it."

 7. According to the United States Senate Judiciary Majority Staff Report "Subverting

    Justice: How the Former President and His Allies Pressured DOJ to Overturn the

    2020 Election," the Witness was present at a widely-reported meeting at the White

    House between former President Trump, former Acting Attorney General Jeffrey

    Rosen, former Acting United States Deputy Attorney General Richard Donoghue,

    former White House Counsel Pat Cipollone, and others, on January 3, 2021. The

    focus of the meeting was whether to fire Rosen and replace him with Jeffrey Clark, a

    Department of Justice attorney who had supported sending a letter from the

    Department of Justice to Georgia Governor Brian Kemp and other high-ranking

    Georgia officials recommending the calling of a special legislative session in Georgia.

    Rosen was ultimately not fired, and the letter was ultimately not sent.

 8. According to media reports, the Witness was also present for a meeting at the White

    House on December 18, 2020, between former President Trump, Sidney Powell,

    Michael Flynn, and others known to be associated with the Trump Campaign to

    discuss topics including invoking martial law, seizing voting machines, and

    appointing Powell as a special counsel to investigate the 2020 election. According to

    media reports, the Witness was highly critical of the meeting.

 9. The Witness, based on his former position as a senior advisor to former President

    Trump, his relevant conversations with individuals known to be associated with the

    Trump Campaign, and his presence at multiple relevant meetings, is a necessary and

    material witness. The Witness possesses unique knowledge concerning the
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    communications between himself, the Trump Campaign, and other known and

    unknown individuals involved in the multi-state, coordinated efforts to influence the

    results of the November 2020 election in Georgia and elsewhere. Finally, the

    Witness's anticipated testimony is essential in that it is likely to reveal additional

    sources of information regarding the subject of this investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 12. The Witness currently resides in Austin, Travis County, Texas.

 13. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Tuesday, November 22, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 14. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act

    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 15. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the
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           Witness may be required to pass in the ordinary course of travel, for any matters

           which arose before the Witness's entrance into this State and other states.

       16. Both Georgia and Texas have adopted the Uniform Act to Secure the Attendance of

           Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

           Tex. Code Crim. Proc. Art. 24.28.

       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 7th day of October, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                           nta Judicial Circuit
                                                         6 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
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                    Exhibit A
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                   IN THE SUPEfilOR COURT OF FUL'irON COUNTY
                           ATLANTA JUDICIAL CIRCUIT      ,..·,\'"'If) _ c;v ,-,;...1
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                                STATE OF GEORGIA         --:t-V::.,t.,A-'-'I\ L--UVV?-     •
                                                               ·~~*D                IN OFFICE
IN RE: REQUEST FOR
       SPECIAL PURJPOSE                                             k
                                                                        .                          17
                                                                    /
       GRA.l'ID JURY                                               L .. ._____                     -
                                                                                           .'
               ORDER APPROVING REQUEST FOP..SPECIAL PURPOSE
               GRAND JURY PURSUANT TO O.C.G.A. ~15-12-100, et seq.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Court of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of th.is Court, as required by O.C.G.A. §15-12-100(6).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12-l0l(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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       This authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of ctiminal matters that has accumulated as a

result of the COVID-19 Pandemic.

       IT IS FURTHER O            RFD that this Order shall be filed in the Office of the Clerk of
                                 ~'    (---'-..
                                      ··.\        ",
the Superior Court of Fulto Counto'-~i\            '\.

                                                         ---'-',----!~---'-----''   2022.




                                CHRISTOPHER S. BRASHER';-BHIEF JUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                     Exhibit B
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                   OFFICE OF THE FULTONCOUNTI DISTRICTATTORNEY
                               ATlANTAJUDICLALCIRCUIT
                             136 PRYORSTREETSW,3RD FLOOR
                                 ATLANTA,GEORGIA30303
~ii    Y.(J//111,j                                         TELEPHONE404-612-4639
District Attorney



                                                                                tD2-2.·-EX- DODD/7
      The Honorable Christopher S. Brasher
      Chief Judge, Fulton County Superior Court                                   FILED IN OFFICE
      Fulton County Courthouse                                                                            J) ,
      185 Central Avenue SW, Suite T-8905
      Atlanta, Georgia 30303

      January 20, 2022

      Dear Chief Judge Brasher:

      I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
      Office has received information indicating a reasonable probability that the State of Georgia's
      administration of elections in 2020, includ1L1.g the State's election of the President of the United
      States, was subject to possible criminal disruptions. Our office has also learned that individuals
      associated with these disruptions have contacted other agencies empowered to investigate this
      matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
      States Attorney's Office for the Northern District of Georgia, leaving this office as the sole
      agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
      result, our office has opened an investigation into any coordinated attempts to unlawfully alter
      the outcome of the 2020 elections in this state.

      We have made efforts to interview multiple witnesses and gather evidence, and a significant
      number of witnesses and prospective witnesses have refused to cooperate with the investigation
      absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
      Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
      participate in an interview or otherwise offer evidence until he is presented with a subpoena by
      my office. Please see Exhibit A, attached to this letter.

      Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
      to O.C.G.A. § 15-12-100et. seq., that a special purpose grand jury be impaneled for the purpose
      of investigating the facts and circumstances relating directly or indirectly to possible attempts to
      disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
      special purpose grand jury, which will not have the authority to return an indictment but may
      make recommendations concerning criminal prosecution as it shall see fit, is needed for three
      reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
      required in order to accomplish its investigation, which will likely exceed a normal grand jury
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     term; second, the special purpose grand jurywould be empqwered to revi~wthis matterand this
     matter only, with an investigatory focus appropriate to the complexity of the facts and
     circumstances involved; and third, the sitting grandjury would not be required to attempt to
     address this matter in addition to their normal duties.

     Additionally, I am requesting that, pursuant to 0.C.G.A. § 15-12-101,a Fulton County Superior
     Court Judge be assigned to assist and supervisethe special purpose grand jury in carrying out its
     investigation and duties.

     I have attached a proposed order impaneling the special purpose grand jury for the consideration
     of the Court.

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            ---""'-------
 "----rnstrict Attorney, Atlanta Judicial Circuit

     Exhibit A: Transcript of October 31, 2021 episode of lvfeetthe Press on NBC News at 26:04
     (video archived at https:/ /www.youtube.com/watch?v=B7l cBRPgt9k)
     ExhibitB: ProposedOrder

     cc:
     The Honorable Kimberly M. Esmond Adams
     TheHonorable Jane C. Barwick
     The Honorable Rachelle Camesdale
     The Honorable Thomas A. Cox, Jr.
     The Honorable Eric Dunaway
     The Honorable Charles M. Eaton, Jr.
     The Honorable Belinda E. Edwards
     The Honorable Kelly Lee Ellerbe
     The HonorableKevin M. Farmer
     The Honorable Ural Glanville
     The HonorableShakura L. Ingram
     TheHonorableRachel R. Krause
     The Honorable Melynee Leftridge
     TheHonorableRobertC.I. 1vicBurney
     The Honorable Hemy M. Newkirk
     The Honorable Emily K. Richardson
     The Honorable Craig L. Schwall, Sr.
     The Honorable Paige Reese Whitaker
     The Honorable Shermela J. Williams
     Fulton County Clerk of Superior Court Cathelene ,:Tina" Robinson
